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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 PARKERSBURG DIVISION


LOIS KING,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 6:07-cv-00447
                                                     (Criminal No. 6:04-cr-00127-08)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER

       Pending before the court is the petitioner’s motion under 28 U.S.C. § 2255 to vacate, set

aside or correct sentence [Docket 546].1 This action was referred to the Honorable Mary E. Stanley,

United States Magistrate Judge, for submission to this court of proposed findings of fact and

recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The magistrate judge has

submitted findings of fact and recommended that the court deny the petitioner’s § 2255 motion.

       The petitioner timely filed a response to the magistrate judge’s findings of fact and

recommendation (“PF&R”), which appears to contain one objection. Having reviewed the

petitioner’s objection de novo, the court FINDS that it is without merit. Accordingly, the court

ADOPTS and incorporates herein the findings and recommendation of the magistrate judge, and

for the reasons stated below, DENIES the petitioner’s § 2255 motion.



       1
        The petitioner has also filed a motion for modification of sentence pursuant to 18 U.S.C. §
3582 [Docket 578, 584]. Because she has stated that “there is no reason to continue [this motion],
being that I have already been released from prison,” (Pet’r Resp. [Docket 622]), the court DENIES
her motion for modification of sentence as moot.
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I.     Background

       In December 2004, petitioner Lois King was convicted by a jury for conspiring with her son,

Kirt King, to launder money, in violation of 18 U.S.C. § 1956(h). She was sentenced on April 25,

2005, to 41 months in prison, a term which she has completed. She is currently serving a three-year

term of supervised release.2 After her conviction, the petitioner appealed to the Court of Appeals

for the Fourth Circuit, where she challenged only her sentence and the effectiveness of her counsel.

Her appeal was unsuccessful. The Fourth Circuit’s opinion provides some background as to the

evidence introduced against the petitioner at trial:

       With respect to Lois King, the Government alleges that they found 116.5 grams of
       cocaine in Kirt King’s residence, worth $26,000, and that Lois King, Kirt King’s
       mother, owned the residence. Mario Mason testified that Kirt King would give large
       amounts of cash to [Lois] King, and that he and Kirt King used the residence to store
       and prepare for resale cocaine they had purchased from sources in Columbus, Ohio.
       He further testified that [Lois] King was in the residence during the time he and Kirt
       King used it to process cocaine. Mason attested that [Lois] King was involved in
       taking the drug money she received from her son and putting it in assets, such as
       houses and cars. The Government presented additional evidence that [Lois] King
       acquired and paid the land contract on one residence with a lump sum payment of
       $14,850 in cash, and that another property was purchased for $21,000, deeded, and
       being paid for by [Lois] King, despite her lack of financial resources (as reported in
       her income tax records).

United States v. King, 199 F. App’x 250, 252 (4th Cir. 2006).

       The petitioner now moves this court to vacate, set aside, or correct sentence pursuant to 28

U.S.C. § 2255. She raises eleven grounds for relief, set forth as follows in her petition:

               (1) Constructive amendment of the indictment and ineffective assistance of
       counsel: The government and the court constructively amended the indictment by
       removing an essential element of the offense returned by the grand jury. In addition,
       the petitioner’s counsel failed to challenge this due process violation.


       2
       A prisoner on supervised release is considered to be “in custody” for purposes of a § 2255
habeas motion. United States v. Pregent, 190 F.3d 279, 283 (4th Cir. 1999).

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             (2) Ineffective assistance of counsel, due to counsel’s failure to challenge the
     willful blindness jury instruction: The government and the Court improperly gave
     a “willful blindness” instruction which removed an essential element of the offense
     and reduced the government’s burden of proof; Petitioner’s counsel, however, failed
     to challenge this improper instruction and amendment.

             (3) Ineffective assistance of counsel, due to counsel’s failure to challenge the
     sufficiency of the evidence on appeal: The evidence was insufficient to sustain
     Petitioner’s conviction; Petitioner’s counsel, however, failed to raise this issue on
     appeal.

             (4) Ineffective assistance of counsel, due to counsel’s failure to properly
     argue Petitioner’s motion to sever trials: Counsel filed a motion to sever Petitioner’s
     trial. However, counsel failed to properly argue the spill-over effect and the need for
     Petitioner’s co-defendant to testify, even though counsel was asked to do so.

             (5) Prosecutorial misconduct and ineffective assistance of counsel: The
     government committed prosecutorial misconduct by prosecuting Petitioner solely
     because Kirt King refused to enter a plea agreement with the government;
     Petitioner’s counsel knew of this misconduct but failed to bring it to the attention of
     the Court.

             (6) Denial of Petitioner’s right to testify and ineffective assistance of counsel:
     Petitioner’s counsel would not allow her to testify even though she repeatedly
     requested she be allowed to do so. In fact, counsel threatened to quit unless
     Petitioner followed his instructions to not testify.

             (7) Ineffective assistance of counsel, due to counsel’s failure to investigate,
     interview, present evidence, and call witnesses prior to and during trial: Petitioner
     had evidence of her innocence and asked counsel to interview persons that would
     authenticate her evidence and to call those persons as witnesses; Petitioner’s counsel,
     however, failed to do so even though this evidence and testimony would have
     resulted in Petitioner’s acquittal.

           (8) Actual innocence: As seen by the evidence (Exhibits 2-18) presented in
     Ground Seven, Petitioner is actually and factually innocent of Count Sixteen.

              (9) Brady violation by the government, and ineffective assistance of counsel,
     due to counsel’s failure to challenge the Brady violation: The government seized all
     of Petitioner’s financial records during the June, 2004 search of her home. However,
     Petitioner’s records for the years 1999 and 2000 were apparently lost by the
     government, according to Petitioner’s counsel. Counsel, however, failed to make
     this known to the Court.


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                 (10) Violation of Petitioner’s due process rights due to counsel’s failure to
        file for a petition of certiorari to the Supreme Court, or to notify Petitioner that he
        was not going to file: Petitioner asked counsel to file a petition for writ of certiorari
        to the Supreme Court. Counsel, however, failed to file and failed to notify Petitioner
        (or the Fourth Circuit) that he was not going to file, thereby preventing Petitioner
        from filing on her own.

                (11) Sentence imposed in violation of Petitioner’s Fifth and Sixth
        Amendment rights/ineffective assistance: Petitioner’s sentence was enhanced based
        on facts not included in the indictment, submitted to the jury, or admitted by
        Petitioner, thereby violating her 5th and 6th Amendment rights under Blakely,
        Booker, and Cunningham. Petitioner’s counsel, however, failed to raise this
        challenge at the district level or on appeal.

(Mot. Vacate, Set Aside, Correct Sentence 4-5, 7-8 [Docket 546]). The magistrate judge proposed

that we reject each of the petitioner’s arguments and deny the § 2255 motion.

II.    Discussion

        Although not entirely clear, the petitioner’s objection appears to address only the

magistrate’s finding that the evidence was sufficient to sustain her conviction. She states, “The

Magistrate judge[’s] propose[d] finding assert[s] that her cash pay-off of the land contract on the

37th St.[] property . . . alone is sufficient to support defendant’s conviction for money laundering.

This finding conflicts with this Circuit[’s] case authority.” (Resp. Opp’n Proposed Finding and

Recommendation 1-2 [Docket 632]). First, she claims that 18 U.S.C. § 1956 requires “concrete

evidence of intent to disguise or conceal [alleged money laundering] transactions . . .” (id. at 2), but

the government did not produce such evidence. Second, the petitioner cites a Supreme Court case

holding that the term “proceeds” in § 1956 applies only to criminal profits, not receipts. (Id. at 2-3

(citing United States v. Santos, ___ U.S. ___, 128 S. Ct. 2020 (2008)). She asserts that “[t]he

government presented no evidence that defendant used ‘profits’ of her son’s alleged drug operation




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nor did they prove the necessary element of concealment and therefore defendant[’s] conviction

should be vacated.” (Id. at 3.)

       On the first point, it is well established that “nonconstitutional claims that could have been

raised on appeal, but were not, may not be asserted in collateral proceedings.” Stone v. Powell, 428

U.S. 465, 478 n.10; see also Sunal v. Large, 332 U.S. 174, 178 (1947) (“[T]he general rule is that

the writ of habeas corpus will not be allowed to do service for an appeal.”). The petitioner did not

raise her sufficiency argument on appeal, and thus, we are constrained not to consider it here. And

although her petition challenges her counsel’s failure to raise this argument on appeal, she did not

object to the magistrate judge’s finding that her counsel was not ineffective.

       On the second point, the petitioner failed to raise the legal issue of the definition of

“proceeds” in her § 2255 petition, and the magistrate did not address it in the PF&R. Moreover,

there is no evidence in the record that the petitioner attempted to amend her petition to raise this

issue. Under these circumstances, we decline to address it here. Furthermore, even if Santos would

have some bearing on the issues presented at the petitioner’s trial, Santos was decided after the

petitioner’s trial and direct appeal were completed. Therefore, it would have had no effect on the

evidence the government was required to prove at trial.

       As to the other findings to which the petitioner does not object, including those relating to

the numerous ineffective assistance of counsel claims, this court does not find clear error on the face

of the record.3


       3
         I note one small exception: it appears that the magistrate judge inadvertently left out a word
in her finding regarding Ground Nine, the alleged Brady violation (see Proposed Findings and
Recommendation 28). The magistrate judge proposed that I find “that [petitioner] was denied
effective assistance of counsel” with respect to the Brady violation, but the context and reasoning
                                                                                         (continued...)

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III.   Conclusion

       For the reasons states above, the court ADOPTS and incorporates herein the findings and

recommendation of the magistrate judge, and DENIES the petitioner’s § 2255 motion [Docket 546].

The court also DENIES as moot the motion for modification of sentence pursuant to 18 U.S.C. §

3582 [Docket 578, 584]. The court DIRECTS the Clerk to send a copy of this written opinion and

order to counsel of record and any unrepresented party.



                                               ENTER:         October 5, 2009




       3
          (...continued)
of this statement shows that the magistrate actually proposed that I find that the petitioner “was not
denied effective assistance of counsel.” In any event, I find the latter: that the petitioner was not
denied effective assistance of counsel with regard to the alleged Brady violation.

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